       Case 4:04-cr-00169-BRW Document 946 Filed 04/01/14 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                              4:04-CR-00169-01-BRW

DEREK ALLMON

                                       ORDER

      Defendant’s Motion to Vacate Order (Doc. No. 943) is DENIED.

      IT IS SO ORDERED this 1st day of April, 2014.



                                               /s/ Billy Roy Wilson
                                               UNITED STATES DISTRICT JUDGE
